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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA
                              Alexandria Division


ROBERT GLASSCOCK, individually,
and as representative of a Class of
Participants and Beneficiaries on Behalf
of the Serco Inc. 401(k) Retirement Plan;
     Plaintiff,                              Civil Action No. 1:20-cv-00092-RDA- JFA

       v.
SERCO INC.;
      Defendant.




                        DECLARATION OF ARTHUR STOCK


       I, Arthur Stock, am an attorney at the Greg Coleman Law Firm, Counsel for

Plaintiff in this Action. I have been admitted to appear before this Court pro hac. I

submit this Declaration in support of Plaintiff’s Motion for Class Certification in this

Action I hereby declare:


       1.     Exhibit 1 attached hereto is a Declaration of Robert Glasscock in support

of his Motion for Class Certification.

       2.     Exhibit 2 attached hereto is a true copy of Mr. Glasscock’s statement of

account for his Serco 401(k) investment as of June 30, 2017.




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       3.     Exhibit 3 attached hereto is a correct copy of document Serco000559, the

Amended and Restated Serco 401(k)Retirement Plan, produced in discovery by

Defendant Serco, Inc. (“Serco”).

       4.     Exhibit 4 attached hereto is a true copy of the Form 5500 filed by Serco,

Inc. 401(k) Plan with the Department of Labor for the year ended December 31, 2018.

       5.     Exhibit 5 attached hereto a true copy of document Serco000335 produced

in discovery by Serco.

       6.     Exhibit 6, attached hereto, to be filed under seal, is a true copy of

document Serco062132 produced in discovery by Serco.

       7.     Exhibit 7 attached hereto, to be filed under seal, is a true copy of the Rule

26(a)(2) Report of Plaintiff’s expert Jeffery Schaff, and Exhibits A, B, D, F, and G to the

Schaff Report. Exhibits D and E are not being filed because they are voluminous. These

have been provided to Defendant, and will be provided to the Court upon request.

       8.     Exhibit 8 attached hereto is a true copy of document Serco016342

produced in discovery by Serco.

       9.     Exhibit 9 attached hereto is the firm resume of Greg Coleman Law PC.

       10.    Exhibit 10 attached hereto is the firm resume of Crueger Dickinson LLC.

       11.    Exhibit 11 attached hereto is the Declaration of Jordan Lewis, Esq.

       12.    Exhibit 12 attached hereto is the Declaration of Edward A. Wallace, Esq,

and firm resume of Wexler Wallace LLP.

       13.    Exhibit 13 attached hereto is the firm resume of Whitfield Bryson LLP.

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       14.    Exhibit 14 attached hereto is the firm resume of the Wise Law Firm, PLC.

       15.    The parties met and conferred on this motion and Plaintiff’s requested

relief, in accordance with Local Civil Rule 7(E), but were not able to reach agreement.




       I declare under penalty of perjury of the laws of the State of Virginia that the

foregoing is true and correct.

       Executed on this 16 day of October, 2020, at Clarksboro, New Jersey,


                                   By:______/s/Arthur Stock_______________________
                                            Arthur Stock, Esq.




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